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   August 4, 2021

   Via ECF
   Judge Steven L. Tiscione
   United States District Court
   Eastern District of New York
   225 Cadman Plaza East
   Brooklyn, New York 11201
               Re: Star Auto Sales of Queens LLC v. Hanie Iskander et al.
                   Case No. 19 cv 6791 (SLT) (RPK)
   Dear Judge Tiscione:
          As you know, I am defendants’ former counsel. This correspondence is sent pursuant to
   your request that I file a letter with the Court containing defendants’ contact information.
          Defendants John Alexander and Nagwa F. Youseifs’ mailing address is:

          8259 Enclave Way, Unit 103
          Sarasota, Florida 34243

         Defendants John Alexander and Nagwa F. Youseifs’ email address is
   john@nvadvertising.net, and their telephone number is 941-822-2597.

          Thank you for your time and consideration.

                                                            Respectfully submitted,
                                                            /s/ Brian L. Greben
                                                            Brian L. Greben

   cc:    Via Email and First-Class Mail
          John Alexander
          8259 Enclave Way, Unit 103
          Sarasota, Florida 34243
          john@nvadvertising.net

          Via Email and First-Class Mail
          Nagwa .F. Youseif
          8259 Enclave Way, Unit 103
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